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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF CONNECTICUT


 AURACLE HOMES, LLC; FD MANAGEMENT,
 LLC; BUCKLEY FARMS, LLC; ORANGE
 CAPITOL, LLC; 216 EAST MAIN STREET                          Case No. 3:20-cv-00829 (VAB)
 MERIDEN, LLC; BD PROPERTY HOLDINGS,
 LLC; PRIME MANAGEMENT, LLC; AND,
 HABERFELD ENTERPRISES, LLC,

         Plaintiffs,                                         JULY 20, 2020
 v.

 NED LAMONT

         Defendant.

           PLAINTIFFS’ REVISED PROPOSED ORDER
RE: EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER, OR
  IN THE ALTERNATIVE, ISSUANCE OF PRELIMINARY INJUNCTION

1.    That the Defendant take such action(s) necessary so that Connecticut state courts are
      no longer precluded by Executive Order 7G, from procedurally addressing, as well as
      issuing and effectuating Judgment in, residential housing summary process actions
      instituted prior to the Defendant’s Declaration(s) of Public Health Emergency and
      Civil Preparedness (March 10, 2020);

2.    That the Plaintiffs, and those similarly situated, be lawfully permitted, once again, to
      serve a Notice to Quit Possession (without qualification) upon tenants;

3.    That the Plaintiffs, and those similarly situated, be lawfully permitted, once again, to
      serve and return a summary process action, to court;

4.    That the Defendant take such action(s) necessary so that Connecticut state courts are
      no longer precluded by Executive Order 7G, from adjudicating, as well as issuing and
      effectuating Judgment in, residential housing summary process actions instituted after
      the Defendant’s Declaration(s) of Public Health Emergency and Civil Preparedness
      (March 10, 2020); and,

5.    Since the above would likely call for modifications to Executive Orders 7G, 7X, and
      7DDD, counsel for the Defendant would need to work together with counsel for the
      Plaintiff over the next 48 hours, to draft acceptable modifications to those Executive

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Orders, with the ability of either side to ask for a status conference should the parties
be unable to agree upon appropriate language to meet the intent of the above.


Dated: JULY 20, 2020                 Respectfully submitted,

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